          Case 1:17-cv-00365-LY Document 91 Filed 05/17/18 Page 1 of 12



                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                    )
                                                 )
               Plaintiffs,                       )
                                                 )
vs.                                              )
                                                 )     No. 1:17-cv-00365
GRANDE COMMUNICATIONS                            )
NETWORKS LLC and PATRIOT MEDIA                   )
CONSULTING, LLC,                                 )
                                                 )
               Defendants.
                                                 )

       DEFENDANT GRANDE COMMUNICATIONS NETWORKS, LLC
         AND NON-PARTY PATRIOT MEDIA CONSULTING, LLC’S
 RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR LEAVE TO AMEND

        Plaintiffs’ Motion should be rejected because it seeks to relitigate issues that have

already been fully considered by the Court and resolved in Defendants’ favor. The entire

premise for Plaintiffs’ request—that newly discovered facts support their dismissed claims—is

faulty because those “new facts” merely reinforce allegations that were presented in the original

Complaint. The Court presumed those allegations were true when it assessed the sufficiency of

Plaintiffs’ original Complaint, and the mere discovery of facts supporting those allegations does

not provide any legitimate basis to amend the Complaint.

       Importantly, Plaintiffs’ Proposed Amended Complaint does not fill any of the holes the

Court identified in Plaintiffs’ original Complaint. Instead, the present Motion simply ignores the

Court’s well-reasoned decision and attempts to reargue the law and the sufficiency of the original

pleading. Allowing Plaintiffs to file an amended complaint under these circumstances would be

futile in that it would invite another round of motion practice that would eventually result in

another order dismissing Plaintiffs’ flawed claims for secondary liability.




                                                 1
          Case 1:17-cv-00365-LY Document 91 Filed 05/17/18 Page 2 of 12



                                  FACTUAL BACKGROUND

       Plaintiffs filed their original complaint on August 21, 2017, alleging secondary copyright

infringement liability against Grande and Patriot under the theories of vicarious and contributory

liability. ECF No. 1. On June 20, 2018, Grande and Patriot separately filed motions to dismiss.

ECF Nos. 28 and 29. On July 21, 2017, Plaintiffs filed responses in opposition to Grande and

Patriot’s motions to dismiss, in lieu of filing an amended complaint. ECF Nos. 33 and 34.

       On February 28, 2018, the Magistrate Judge issued the Report and Recommendation

(“R&R”) on Defendants’ motions to dismiss (ECF No. 72), and on March 28, 2018 the Court

issued its Amended Order adopting the R&R (ECF No. 78). In the R&R, the Magistrate Judge

expressly noted that all well-pleaded factual allegations were presumed and accepted as true.

ECF No. 72 at 1, 11.

       In its Amended Order adopting the Magistrate Judge’s Report and Recommendation, the

Court dismissed Plaintiffs’ vicarious infringement claims against Grande with prejudice and

dismissed the vicarious and contributory infringement claims against Patriot with prejudice.

ECF No. 78 at 3.

                                    LEGAL BACKGROUND

       Good cause under Fed. R. Civ. P. 16(b). “Federal Rule of Civil Procedure 16(b) controls

the amendment of pleadings once a scheduling order has been issued.” Rodriguez v. Encana Oil

& Gas (USA) Inc, No. 5:16-cv-765, 2018 WL 1146394, at *4 (W.D. Tex. Mar. 1, 2018). A

scheduling order “shall not be modified except upon a showing of good cause and by leave of the

district judge.” Id. (citing Fed. R. Civ. P. 16(b)). “When the Court analyzes good cause under

Rule 16, it should consider four factors: ‘(1) the explanation for the failure to timely move for

leave to amend; (2) the importance of the amendment; (3) potential prejudice in allowing the




                                                 2
            Case 1:17-cv-00365-LY Document 91 Filed 05/17/18 Page 3 of 12



amendment; and (4) the availability of a continuance to cure such prejudice.’” Id. (citations

omitted). “Whether the movant has good cause under Rule 16 is within the discretion of the trial

court.” Id.

       Leave to amend under Fed. R. Civ. P. 15(a). “[T]he Fifth Circuit has explained that

‘[o]nly upon movant's demonstration of good cause to modify the scheduling order will the more

liberal standard of Rule 15(a) apply to the district court's decision to grant or deny leave.’”

Brown v. Rodriguez, No. 5:15-cv-396, 2016 WL 1453500, at *14 (W.D. Tex. Apr. 12, 2016)

(citation omitted). “[L]eave is not automatic” and “[w]hether to grant leave ‘lies within the

sound discretion of the district court.’” Id. “In exercising its discretion, the Court may consider

such factors as undue delay, bad faith or dilatory motive on the part of the movant, repeated

failure to cure deficiencies by amendments previously allowed, undue prejudice to the opposing

party, and futility of the amendment.” Id. (citation and quotation omitted).

       “Denying a motion to amend is not an abuse of discretion if allowing an amendment

would be futile.” Marucci Sports, L.L.C. v. Nat'l Collegiate Athletic Ass'n, 751 F.3d 368, 378

(5th Cir. 2014). “An amendment is futile if it would fail to survive a Rule 12(b)(6) motion.” Id.

A proposed amended complaint is reviewed “under the same standard of legal sufficiency as

applies under Rule 12(b)(6).” Id. (citation and quotation omitted).

                                           ARGUMENT

I.     Plaintiffs’ Request for Amendment Against Grande Should be Denied

       A.      The Proposed Amended Complaint Fails to Address
               the Flaws in Plaintiffs’ Original Complaint

       To plead a claim for vicarious infringement, Plaintiffs must plausibly allege that Grande

has a direct financial interest in the allegedly infringing activity. See R&R at 16 (citing

Grockster, 505 U.S. at 930). “The essential aspect of the ‘direct financial benefit’ inquiry is



                                                  3
            Case 1:17-cv-00365-LY Document 91 Filed 05/17/18 Page 4 of 12



whether there is a causal relationship between the infringing activity and any financial benefit a

defendant reaps.” R&R at 17-18 (citing Ellison v. Robertson, 357 F.3d at 1072, 1078 (9th Cir.

2004)) (emphasis added). In other words, “the central question of the ‘direct financial benefit’

inquiry is whether the infringing activity constitutes a draw for subscribers, not just an added

benefit.” Id. (emphasis added). In this case, the Court properly determined that Plaintiffs “must

plead that customers subscribed to Grande’s services because of the specific infringing material

at issue.” Id. at 18.

          Plaintiffs’ original Complaint alleged that Grande received a direct financial benefit from

alleged infringement because (1) “the availability of music—and particularly UMG’s music—

acts as a powerful draw for users of Grande’s service, who use that service to download

infringing music files using BitTorrent protocols,” and (2) “Grande continues to collect

substantial money in subscription fees from accounts of known repeat infringers,” even “where

Defendants have specific and actual knowledge of those subscribers’ blatant, repeat

infringement.” See ECF No. 1 at ¶¶ 4, 59, 66.

          Based on these pleadings, the Court properly dismissed Plaintiffs’ vicarious infringement

claim because such allegations “would impose liability on every ISP, as the music at issue is

available on the Internet generally, as is the BitTorrent protocol, and is not something

exclusively available through Grande’s services.” R&R at 18. The Court explained that its

decision was based on the absence of “allegations that Grande’s actions in failing to adequately

police their infringing subscribers is a draw to subscribers to purchase its services, so that they

can use those services to infringe on [Plaintiffs’] (and others’) copyrights.” Id. (emphasis

added).

          Despite these clear rulings from the Court, Plaintiffs now seek to file an Amended




                                                   4
          Case 1:17-cv-00365-LY Document 91 Filed 05/17/18 Page 5 of 12



Complaint1 that relies on the very same flawed allegations to support its vicarious infringement

claim. Specifically, Plaintiffs’ new allegations are that:

             Although it failed to terminate any subscribers for copyright infringement
             from 2011 until June 2017, Grande has tracked and continues to track
             information received alleging copyright infringement by its users. Grande’s
             own records reveal that the company knew the specific musical works that its
             infringing customers were downloaded, including specifically Plaintiffs’
             Copyrighted Sound Recordings. This evidence demonstrates that Plaintiffs’
             Copyrighted Sound Recordings were a draw to Grande’s infringing
             customers, including customers Grande has identified as repeat infringers.

See Ex. 1 at ¶¶ 67-682.

       First, the original Complaint already asserted that Grande knew its subscribers were

infringing Plaintiffs’ copyrights based on the notices it received from Rightscorp. See, e.g., ECF

No. 1 at ¶¶ 4, 5, 47, 50, 59, 65. At most, the “new” pleadings in the Proposed Amended

Complaint substantiate those earlier allegations.3 But, the Court presumed those allegations

were true when it assessed the sufficiency of Plaintiffs’ pleadings and decided to dismiss the

vicarious infringement claim. Plaintiffs’ alleged discovery of facts that support the allegations

made in the original Complaint does not provide a legitimate basis for filing an amended

complaint.

       Second, even if the allegations cited above were new, the fact that Grande monitors

copyright notices in no way satisfies Plaintiffs’ obligation to plead direct financial interest. Just


1 A copy of Plaintiffs’ Proposed Amended Complaint with the newly-added pleadings
highlighted is attached to this briefing as Exhibit 1, annotated to reflect the relationship between
those allegations and Plaintiffs’ original allegations.
2 The documents cited in Exhibit D to Plaintiffs’ motion are merely records reflecting notices
received from copyright holders. All of these records are from 2017 and they were prepared in
accordance with Grande’s DMCA subscriber termination protocol.
3 Plaintiffs admit as much in their Motion. See ECF No. 85 at 4 (“Plaintiffs’ original Complaint
alleged both that copyrighted works were a draw to Grande’s users and that Grande directly
profited from its users’ infringement. Discovery in this case reveals that Plaintiffs were
correct.”) (emphasis added).


                                                  5
             Case 1:17-cv-00365-LY Document 91 Filed 05/17/18 Page 6 of 12



like the original Complaint, “there are no allegations [in the Amended Complaint] that Grande’s

actions in failing to adequately police their infringing subscribers is a draw to subscribers to

purchase its services. . . .” R&R at 18. As this Court has already determined, allegations like

those cited above “would impose liability on every ISP” and do not sufficiently plead vicarious

liability. Id.

        Proposed amendments like those presented here simply “rehash[] the same arguments”

previously dismissed by the Court, are futile, and warrant denial of leave to amend. See Lothian

Cassidy, LLC v. Lothian Expl. & Dev. II, LP, No. 7:13-cv-127, 2016 WL 7616715, at *1 (W.D.

Tex. Oct. 12, 2016); see also Rodriguez v. Encana Oil & Gas (USA) Inc., No. 5:16-cv-765, 2018

WL 1146394, at *5 (W.D. Tex. Mar. 1, 2018) (finding “[p]laintiff has failed to show good cause

for the Court to modify its scheduling order and allow Plaintiff to amend his complaint” where

the “Plaintiff fails to cure the deficiency that the Court noted in its prior dismissal order.”).

        B.       Undue Prejudice to Grande Also Warrants Denial of Leave to Amend

        The present Motion should also be denied because adding vicarious infringement back

into the case at this late date would severely prejudice Grande. Grande conducted the lion’s

share of its fact discovery with the understanding that vicarious infringement was not at issue in

the case. Now adding that claim would require Grande to serve additional discovery which it

would likely not collect and review before summary judgment briefing commences. Moreover,

Grande would be forced to conduct that additional discovery in a compressed timeframe, while

simultaneously attempting to prepare expert reports and summary judgment briefing. This

significant prejudice militates against amendment. See Pharr v. Wille, No. 1:14-cv-762, 2016

WL 1448886, at *3 (W.D. Tex. Apr. 12, 2016) (finding prejudice in part due to amendments

where “new depositions would need to be taken and new interrogatories would need to be




                                                   6
          Case 1:17-cv-00365-LY Document 91 Filed 05/17/18 Page 7 of 12



answered.”).

       Furthermore, “the prejudice to the Court should also be accounted for,” and an additional

round of motion to dismiss briefing—on futile pleadings addressing the same arguments and law

already resolved by the Court—would only further add to the costs and burden of this litigation.

See Integrity Factoring & Consulting, Inc. v. Triple S Materials, L.P., No. 5:16-cv-885, 2017

WL 8020218, at *3 (W.D. Tex. Nov. 20, 2017).

II.    Plaintiffs’ Request for Amendment Against Patriot Should be Denied

       Plaintiffs’ proposed amendments against Patriot are similarly flawed. The Proposed

Amended Complaint includes no truly new allegations that remedy the flaws the Court identified

in the original Complaint.

       The Court dismissed Plaintiffs’ allegations against Patriot because they were “a very

poorly disguised attempt to ignore Grande’s corporate form, and to impose liability on Patriot

solely because it provides services to Grande.” R&R at 20-21. The Court further determined

that “the relationship between the alleged direct infringers and Patriot is too attenuated to support

a claim against Patriot.” Id. at 21. The Court’s conclusions are equally applicable to Plaintiffs’

proposed amended allegations.

       Plaintiffs seek leave to amend based on its discovery of facts establishing that Patriot

develops and administers Grande’s policies for addressing allegations of subscriber

infringement. See Motion at 6. Specifically, Plaintiffs “new” allegations assert that:

           Patriot performs the functions of Grande’s CEO, CFO, and COO; develops
           Grande’s overall business strategy; and handles various marketing, legal,
           regulatory, and other functions for Grande. In particular, Patriot sets
           Grande’s policies, including policies relating to copyright infringement.

See Ex. 1 at ¶ 47.

       None of these allegations are new. Plaintiffs’ original Complaint alleged that “Patriot has



                                                 7
          Case 1:17-cv-00365-LY Document 91 Filed 05/17/18 Page 8 of 12



the right and ability to supervise and control the infringing activities that occur using the Grande

service . . . .” ECF No. 1 at ¶ 80. More specifically, the original Complaint alleges

that“[b]ecause it provided executive and general counsel services to Grande, Patriot is equally

liable for Grande’s failure to comply with its legal responsibilities and for the copyright

infringement that resulted from those failures . . . Patriot’s infringing conduct includes, among

other things, formulating and implementing the business policies, procedures, and practices that

provide repeat infringers with continued Internet service through Grande.” Id. at ¶ 55.

       The Court presumed all of the foregoing facts were true when it dismissed Plaintiffs’

allegations against Patriot with prejudice. R&R at 1. The fact that Plaintiffs conducted

discovery and now have facts to support their pleadings does not affect the insufficiency of those

pleadings. Plaintiffs’ allegations against Patriot still represent an improper attempt to “ignore

Grande’s corporate form, and to impose liability on Patriot solely because it provides services to

Grande.” Id. at 21. Because Patriot is not an Internet service provider, Patriot does not “actively

participate” in the alleged secondary infringement as the law requires.4 Id. at 20.

       Plaintiffs also argue that the Proposed Amended Complaint presents “new” allegations

regarding Patriot’s ownership interest in Grande. See, e.g., ECF No. 85 at 8-9. Plaintiffs’ new

allegation is that Patriot “has an ownership interest5 in Grande and has had such an interest since

at least 2013.” Ex. 1 at ¶ 47. But this allegation is not new. The original Complaint alleged that



4 Patriot remains at least one step removed from alleged secondary liability and two steps
removed from any direct liability. See In re Napster Inc., 2001 WL 36593841, at *2 (N.D. Cal.
July 9, 2001); David v. CBS Interactive Inc., 2012 WL 12884914, at *4 (N.D. Cal. July 13,
2012).
5 During oral argument, Patriot’s counsel represented that Patriot has no ownership interest in
Grande. That statement was incorrect. Grande’s counsel takes his obligation to provide truthful
information to the Court seriously, and he deeply regrets misstating that fact. He believed the
statement to be accurate, but later learned that Patriot owns a very small percentage of Grande.



                                                 8
           Case 1:17-cv-00365-LY Document 91 Filed 05/17/18 Page 9 of 12



“Patriot . . . at all relevant times has derived a direct financial benefit from the infringement of

Plaintiffs’ copyrights.” ECF No. 1 at ¶ 80.

         Even if the Court finds Plaintiffs’ refined pleading sufficiently new, the allegation

provides no basis for amendment. A party’s ownership interest in a company cannot expose that

party to secondary (or tertiary liability) for copyright infringement.6 Such a result would once

again improperly ignore Grande’s and Patriot’s status as independent corporate entities. R&R at

20-21.

III.     Plaintiffs Should Not Be Permitted to Add Pleadings Unrelated to the New Evidence
         Produced by Grande in Litigation

         Plaintiffs argue that their recent discovery of evidence produced by Grande in this

litigation provides good cause for amending the Complaint. See, e.g., ECF No. 85 at 1

(“Plaintiffs move to amend their Complaint to state additional, previously unavailable facts

supporting their claim[s]”). Because Plaintiffs do not present any other good cause basis for

making amendments, any pleadings that Plaintiffs seek to add to the Complaint that do not relate

to the evidence Grande recently produced should be stricken.

         Paragraph 45 of the Proposed Amended Complaint includes a new sentence that reads as

follows: “Rightscorp’s system has acquired from the infringing host computers of Grande’s users

at least one full copy of each of the Copyrighted Sound recordings listed in Exhibit A.” Ex. 1 at

¶ 45. This proposed additional pleading does not relate in any way to evidence Plaintiffs

obtained in discovery and represents an improper attempt to amend the pleadings without good



6 Plaintiffs rely on EMI Apr. Music Inc. v. Know Grp., LLC to argue that “entitlement to
participate in the profits of the business suffices to establish direct financial benefit.” Motion at
8. This argument misses the mark because even if Patriot is determined to have a direct financial
benefit in Grande, that does not establish that Patriot has a direct financial benefit in the
infringement. The Court’s determination that Plaintiffs failed to plead a direct financial benefit
to Grande means that they also failed to plead a direct financial benefit to Patriot.


                                                   9
         Case 1:17-cv-00365-LY Document 91 Filed 05/17/18 Page 10 of 12



cause at the close of discovery.

       Grande has conducted all of its discovery with the understanding that Plaintiffs’

allegations of infringement are based on (1) the copyright infringement notices Rightscorp

transmitted to Grande and (2) a series of copyright registrations produced by Plaintiffs in

discovery. These were the only sets of material identified in response to numerous

interrogatories that sought a listing of the evidence Plaintiffs would rely on at trial. Because

these additional allegations “exceed the scope” of Plaintiffs’ arguments for good cause, they

should be stricken. See, e.g. Benton v. Baker Hughes, No. 2:12-cv-7735, 2013 WL 3353636, at

*3 (N.D. Cal. June 30, 2013) (collecting cases striking or dismissing new claims and allegations

that exceed the scope of an order granting leave to amend).

                                         CONCLUSION

       Thus because Plaintiffs have failed to demonstrate satisfaction of the standards required

under either Rule 15 or Rule 16—which both must be satisfied in order to justify leave to

amend—Plaintiffs’ motion for leave to amend the Complaint should be denied.




                                                 10
        Case 1:17-cv-00365-LY Document 91 Filed 05/17/18 Page 11 of 12



Dated: May 17, 2018


                                           By: /s/ Richard L. Brophy
                                               Richard L. Brophy
                                               Zachary C. Howenstine
                                               Margaret R. Szewczyk
                                               Armstrong Teasdale LLP
                                               7700 Forsyth Blvd., Suite 1800
                                               St. Louis, Missouri 63105
                                               Telephone: 314.621.5070
                                               Fax: 314.621.5065
                                               rbrophy@armstrongteasdale.com
                                               zhowenstine@armstrongteasdale.com
                                               mszewczyk@armstrongteasdale.com

                                               J. Stephen Ravel
                                               State Bar No. 16584975
                                               J.R. Johnson
                                               State Bar No. 240700000
                                               Diana L. Nichols
                                               State Bar No. 00784682
                                               KELLY HART & HALLMAN LLP
                                               303 Colorado, Suite 2000
                                               Austin, Texas 78701
                                               Tel: (512) 495-6529
                                               Fax: (512) 495-6401
                                               steve.ravel@kellyhart.com
                                               jr.johnson@kellyhart.com
                                               diana.nichols@kellyhart.com

                                               Attorneys for Defendant GRANDE
                                               COMMUNICATIONS NETWORKS LLC
                                               and PATRIOT MEDIA CONSULTING,
                                               LLC




                                      11
         Case 1:17-cv-00365-LY Document 91 Filed 05/17/18 Page 12 of 12



                                CERTIFICATE OF SERVICE

       The undersigned certifies that on May 17, 2018, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                            /s/ Richard L. Brophy
                                            Richard L. Brophy




                                               12
